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             Exhibit AJ (William OReilly a/k/a Bill OReilly) Page 1 of 14




                                    Exhibit AJ


                        William O’Reilly a/k/a Bill O’Reilly
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                                            EXHIBIT A

                                          DEFINITIONS

       1.      The term “document” shall be construed to the broadest extent permitted by the

Federal Rule of Civil Procedure 34(a). “Document” means and includes without limitation all

written or printed matter of any kind, including the originals and all non-identical copies, whether

different from the original by reason of any notes made on such copies or otherwise, including

without limitation, correspondence, e-mails, text messages, WhatsApp messages, memoranda,

notes (handwritten, typed or otherwise), evidence, affidavits, statements, letters, diaries, journals,

date-books, day-timers, calendars, minutes, agendas, contracts, reports, studies, checks,

statements, receipts, summaries, interoffice and intraoffice communications, ledgers, offers,

performance evaluations, notations of any sort of conversation (including without limitation

telephone conversations or meetings) and all drafts, alterations, modifications, changes or

amendments of any of the foregoing, and any and all mechanical, magnetic, audiotape, videotape

or electronic recordings or reproductions of any kind of any of the foregoing which are in the

possession, custody or control of the respondent and/or its present or former attorneys, agents or

representatives. “Document” also includes data stored or contained in computers, databases,

servers, software applications, computer tapes, computer discs or any other computer-related

device and videotapes and audiotapes.

       2.      “Referring to or relating to” means containing, constituting, evidencing, showing

or relating or referring to in any way, directly or indirectly, and is meant to include, among other

documents, documents underlying, supporting, now or previously attached or appended to, or used

in the preparation of any document called for by each request.




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       3.      “Communicate,” “communicating,” “communication” or “communications”

means the transmittal of information, whether written or oral, in the form of facts, ideas, inquiries

or otherwise, as well as any oral or written utterance, notation, statement or transmittal of any

information of any nature whatsoever, by and to whomsoever made, including, without limitation,

electronic mail, facsimile, correspondence, meetings, conversations, dialogues, discussions,

interviews, consultations, agreements, and other understanding between or among two or more

persons.

       4.      The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope.

       5.      The use of the singular form of any word includes the plural and vice versa.

       6.      “Case” or “Action” means each of the Debtors’ jointly administered Chapter 11

bankruptcy cases administered under Case No. 22-14539(JKS).

       7.      “Court” means the United States Bankruptcy Court for the District of New Jersey.

       8.      “Debtor” or “Debtors” means National Realty Investment Advisors, LLC

(“NRIA”), together with its affiliate Debtors that are jointly administered under Case No. 22-

14539(JKS), pending in the United States Bankruptcy Court for the District of New Jersey,

including without limitation each of NRIA Partners Portfolio Fund I, LLC; NRIA Capital Partners,

Inc.; NRIA Structured Credit Strategies, LLC.

       9.      “Debtor Law Firm” means any law firm or attorney that has been retained by or has

represented any one of or all of the Debtors, appearing or acting on behalf of one or all of the

Debtors, or providing legal services to one or more of the Debtors, including without limitation

Reed Smith LLP.

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       10.     “Insiders” means Rey Grabato, D. Coley O’Brien, Thomas Nicholas Salzano,

Arthur Scutaro (a/k/a Arthur Scuttaro), and any of their immediate family members and affiliates,

including but not limited to Peter Salzano, Dustin Salzano, Bethany Salzano, John Salzano, Kyle

Stafirny, Christina Cetrulo, Stephanie Cortese, Thomas John Salzano, Karen J. O’Brien, Olena

Budinska, Vincent Scutaro (a/k/a Vincent Scuttaro), Arthur R. Scutaro (a/k/a Arthur R. Scuttaro),

Stephen Scutaro (a/k/a Stephen Scuttaro), and John M. Farina.

       11.     “Insider Affiliate Entity” shall refer individually or collectively to U.S.

Construction, Inc., Premier Access Property Management, Skyline Development, Metro

Construction (“Metro”), Teterin Management LLC, Bond Way Capital 915 LLC, District Trust

LLC, Referral Marketing Associates, RG Valencia LLC, T3X Consulting LLC, Web Marketing,

H&L Marketing, SAV Consulting, LLC, Link N. Log LLC, Network Digital Office Systems, Inc.,

AJ Sales and Marketing, Inc., Referral Marketing LLC, 44 Capital Management Corp., Grande

Classe Development LLC, and any other Entity or Person with whom an Insider is an “affiliate”

(as such term is defined in §101(2) of the Bankruptcy Code), and each of their respective officers,

directors, employees, agents and representatives.

       12.     “Insider Law Firm” means any law firm or attorney that was retained by or

represented any one of or all of the Insiders or Insider Affiliate Entities, appearing or acting on

behalf of one or all of the Insiders or Insider Affiliate Entities, or providing legal services to one

or more of the Insiders or Insider Affiliate Entities.

       13.     “Contractors” means U.S. Construction, its officers, directors, employees, partners,

corporate parent, subsidiaries, affiliates, agents, and sub-contractors.




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       14.     “Entity” shall mean a corporation, foreign corporation, not-for-profit corporation,

profit and not-for-profit unincorporated association, limited liability company, partnership, trust,

estate, or other organization which possesses a separate legal existence.

       15.     The term “asset” means anything tangible or intangible that is capable of being

owned or controlled to produce value.

       16.     “Financial Record” means, with respect to a person, any document which pertains

in any way to the financial condition, business, or business operations of that person, including,

without limitation, the cash flows, profit-making operations, revenues, or overall financial

condition of such person. For the avoidance of doubt, Financial Records shall include, but not be

limited to, any income statements, balance sheets, bank statements, check registers, ledgers, cash-

flow statements, profit-and-loss statements, audit reports, compilations, account statements, tax

returns, and reports on or reflecting any of the Debtors’ business operations, whether in draft or

final form, and all supporting documents related thereto.

       17.     “Petition Date” means June 7, 2022, the date on which the Bankruptcy Case was

commenced.

       18.     “Person” shall mean natural persons and shall include any “entity” as such term is

defined at 11 U.S.C. § 101(15).

       19.     “Private Placement Memorandum” shall mean any document provided to potential

investors disclosing information about you or any or all of the Debtors for the purpose of soliciting

investments in you or any or all of the Debtors.

       20.     “You” or “Your” or “respondent” shall refer to the person to whom this subpoena

is directed, his agents, employees, representatives, and/or any affiliated entity.




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       21.     The terms “possession,” “custody” and “control,” as used with respect to a

document or other requested material, shall include, in addition to all documents in the actual

possession of respondent, or its attorneys or agents, any materials, the location or proprietor of

which is known to respondent, its attorneys or agents.

       22.     Except as otherwise specified herein, terms which are not defined in these Requests

shall have the definitions given to those terms by the Bankruptcy Code, Federal Rules of

Bankruptcy Procedure (including the Federal Rules of Civil Procedure to the extent they are made

applicable by the Bankruptcy Rules), and/or the Local Rules of Bankruptcy Procedure for the

District of New Jersey.

                                       INSTRUCTIONS

       1.      The documents listed below will be produced for inspection and copying within

fifteen (15) days of receipt of this Subpoena at the offices of 1500 Broadway, Suite 2900, New

York, NY 10036, Attn: Louis DeLucia. All documents covered in this request shall be produced

in an orderly manner (and with appropriate markings or other identification) so that the Official

Committee of Unsecured Creditors and their attorney(s) will be able to identify the source of the

document, the file in which it was maintained, the person to whom such file belonged, and the

number of the request to which it responds.

       2.      Your responses to these document requests shall be supplemented whenever you

become aware of and/or are in possession of additional documents falling within the scope of any

request set forth herein.

       3.      If any document or any portion of a document is withheld under claim of a privilege,

furnish a list identifying each document for which a privilege is claimed, together with the

following information: date, author or sender, all addresses or recipients, type (e.g., letter,

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memorandum, telegram, chart, photograph, etc.), subject matter of the document, the basis on

which a privilege is claimed, and the paragraph or paragraphs of this request to which the document

corresponds. If respondent claims a privilege as to only a portion of a document, produce the

portion of the document as to which respondent does not claim a privilege.

       4.      If any document described in this request was, but no longer is, in respondent’s

possession, or subject to respondent’s custody or control, or in existence, state whether (a) it is

missing or lost; (b) it has been destroyed; (c) it has been transferred, voluntarily or involuntarily,

to others, or; (d) it has been disposed of otherwise. In each instance, explain the circumstances

surrounding such disposition and identify the person directing or authorizing the disposition and

the date thereof. In addition, identify each such document by listing its date, author or sender, all

addresses or recipients, type (e.g., letter, memorandum, telegram, chart, photograph, etc.), subject

matter, present location and custodian, and state whether the document or copies are still in

existence.

       5.      Unless stated otherwise, the relevant period for each of the requests herein shall be

from January 1, 2016 through the present (the “Applicable Period”).

       6.      The documents produced in response to these requests shall be organized in

accordance with the individual requests made herein. Each document should be labeled to

correspond with the categories in these requests.

       7.      These requests are continuing in nature and require further and supplemental

productions by you whenever you acquire or make additional documents between the date of the

first production hereunder and the time of any trial or hearing in this action.

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                                          EXHIBIT B

                                          REQUESTS

  1.   All documents and communications relating to payments (or exchanges of other items of

       value whether tangible or intangible) by or between you and Debtors, Insiders, and/or

       Insider Affiliate Entities, including all payments made to or through intermediaries, third

       parties or nominees acting on your behalf or on behalf of Debtors, Insiders, and/or Insider

       Affiliate Entities.


  2.   All documents and communications relating to the compensation structure agreed upon by

       you and Debtors, including but in no way limited to contracts, agreements, and/or

       engagement letters.


  3.   All documents and communications relating to the actual compensation, regardless of the

       form of that compensation, provided to you by Debtors, Insiders, and/or Insider Affiliate

       Entities.


  4.   All documents and communications relating to the scope of your employment with or

       connection to Debtors, Insiders, and/or Insider Affiliate Entities, including but in no way

       limited to any employment contracts, employment agreements, and/or engagement letters.


  5.   All documents and communications relating to scheduled meetings between you and

       Debtors, any employees of the Debtors, any principals of the Debtors, Insiders, or Insider

       Affiliate Entities, even if such meetings never occurred.


  6.   All communications relating to the lunch scheduled for March 29, 2021, between Katey

       Kana, Thomas Nicholas Salzano, and you, including but not limited to communications

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        relating to why the lunch was cancelled and communications relating to plans to reschedule

        the lunch.


  7.    All documents and communications relating to your visits to properties of Debtors,

        Insiders, and/or Insider Affiliate Entities.


  8.    The itinerary from your January 2021 trip to Ocean Delray located at 1901 South Ocean

        Blvd., Delray Beach, Florida.


  9.    All documents and communications relating to changes, suggestions, revisions, or ideas

        that you contributed to or prepared for advertising and/or marketing materials of Debtors,

        regardless of whether those appeared in the final materials.


  10.   All documents and communications relating to other suggestions, advice, or ideas that you

        provided to Debtors, regardless of whether that was solicited or accepted by Debtors.


  11.   All scripts provided to you for the purpose of advertising on behalf of Debtors, Insiders,

        and/or Insider Affiliate Entities, including but not limited to any disclaimer-type language

        included in advertising.


  12.   All documents and communications that show the compensation you received from

        Debtors, Insiders, and/or Insider Affiliate Entities relative to the compensation that you

        received from similarly situated customers.


  13.   All documents and communications relating to granting Debtors studio naming rights,

        regardless of whether naming rights were ever granted.




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  14.   All communications between you and Debtors, Insiders, and/or Insider Affiliate Entities

        relating to publications about your relationship with Debtors, including but not limited to

        newspaper stories questioning the legitimacy of Debtors’ business operations.


  15.   All documents and communications relating to the due diligence you or any of your agents

        (e.g., attorneys) conducted on Debtors or Insiders, including but not limited to Thomas

        Nicholas Salzano and Arthur Scuttaro (a/k/a Arthur Scutaro) and their advertisements

        and/or marketing materials.


  16.   All documents and communications relating to your decision to either personally invest or

        not invest with Debtors.


  17.   All documents and communications relating to any offers to purchase real estate provided

        to you by Debtors, Insiders, and/or Insider Affiliate Entities.


  18.   In the event you purchased real estate from Debtors, Insiders, and/or Insider Affiliate

        Entities, all documents and communications relating to your real estate holdings.


  19.   All documents and communications relating to your decision to either continue or

        discontinue your relationship with Debtors after March 2021.


  20.   All documents and communications relating to complaints you received as a result of

        publishing and/or distributing advertising and/or marketing materials on behalf of Debtors.


  21.   All communications with or relating to any Debtor Law Firm and/or Insider Law Firm,

        including but not limited to Pashman Stein Walder Hayden P.C. and/or Sills Cummis &

        Gross P.C.

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  22.   All documents and communications relating to any concern raised by any person regarding

        whether Debtors, Insiders, and/or Insider Affiliate Entities were involved in fraud or other

        wrongdoing, regardless of the weight or credibility given to such concerns.


  23.   To the extent not produced in the foregoing requests, all documents and communications

        that you received from Debtors, Insiders, and/or Insider Affiliate Entities.


  24.   To the extent not produced in the foregoing requests, all communications between you and

        Jeremy Price and/or Sharon Kitchell relating to Debtors, Insiders, and/or Insider Affiliate

        Entities.


  25.   All documents produced in response to any investigation, regulatory or other enforcement

        action regarding Debtors, Insiders or Insider Affiliate Entity by any governmental agency,

        including but not limited to the United States Securities and Exchange Commission, United

        States Department of Justice, Office of the United States Attorney, New Jersey Bureau of

        Securities, and any other securities or other regulatory or law enforcement agency.


  26.   All documents and communications you received relating to the investigation of Debtors,

        excluding communications received directly from any local, state, or federal investigators.




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